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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MICHELLE M. REDD,                            )
                                             )
       Plaintiff,                            )      Case No.: 1:20-CV-07658
                                             )
v.                                           )
                                             )      Honorable Judge Sara L. Ellis
HEALTHCARE REVENUE                           )
RECOVERY GROUP, L.L.C. D/B/A                 )
ARS ACCOUNT RESOLUTION                       )      Magistrate Judge M. David Weisman
SERVICES,                                    )
                                             )
       Defendant.                            )
                                             )

     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AGAINST PLAINTIFF

       Defendant, Healthcare Revenue Recovery Group, LLC, by and through its attorneys of

Gordon & Rees LLP, brings this Motion for Summary Judgment pursuant to Federal Rules of

Civil Procedure 56 and N.D. Ill. L.R. 56.1. In support of its motion, HHRG states as follows:

       1.      Pursuant to the Court’s standing order, HRRG advised Plaintiff of the basis of its

motion for summary judgment in a short letter.

       2.      Pursuant to the Court’s standing order, the parties have conferred via email and

telephonically on November 9, 2021.

       3.      After the parties complied with the meet and confer requirement imposed by the

Court’s standing order, HRRG still wishes to move for summary judgment, and requests that the

Court rule on its motion.

       4.      Plaintiff alleges HRRG violated Section 1681s-2(b)(1)(A) of the Fair Credit

Reporting Act by willfully failing to conduct a reasonable investigation of information about Ms.

Redd that was purportedly provided to credit reporting agencies.
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       5.      In order to prevail on her FCRA clam, Plaintiff must prove that: (1) HRRG

received her dispute, (2) HRRG willfully failed to conduct a reasonable investigation of her

dispute, (3) she suffered actual damages, and (4) that her actual damages were caused by

HRRG’s willful failure to conduct a reasonable investigation. See Ruffin-Thompkins v. Experian

Info. Sols., Inc., 422 F.3d 603, 608 (7th Cir. 2005).

       6.      Plaintiff’s FCRA claim against HRRG fails as a matter of law for several reasons.

       7.      First, Plaintiff has failed to show she suffered actual damages as a result of

inaccurate information reported by HRRG.

       8.      Second, Plaintiff has failed to meet her burden of proof and could never establish

an actionable FCRA claim.

       9.      Third, HRRG conducted a reasonable investigation as a matter of law.

       10.     Finally, Plaintiff’s only claim is that HRRG willfully failed to perform a

reasonable investigation of Plaintiff’s dispute. There is absolutely no evidence in the record that

demonstrates HRRG should have known its investigation was not reasonable or that it acted with

reckless disregard.

       11.     In further support of its Motion for Summary Judgment, HRRG respectfully

incorporates its Memorandum in Support of its Motion and Federal Rule of Civil Procedure 56

Joint Statement of Undisputed Material Facts, filed concurrently with this Motion.

       12.     The Joint Statement of Undisputed Material Facts is filed separately from the

Memorandum of Law, in accordance with the Court’s procedures.

       WHEREFORE, HRRG respectfully requests this Court grant its Motion for Summary

Judgment, and for any further relief that this Court deems necessary and appropriate.
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Dated: November 15, 2021                     Respectfully submitted,


                                      By: /s/ Paul Gamboa
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2021, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send notification of such filing to

the following attorneys of record:

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                                                   Respectfully submitted,

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